Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 1 of 15 Page ID #:996




             EXHIBIT A
Sl.75-IIUY 1913
       Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 2 of 15 Page ID #:997
 ; The Skyline That Ate San Francisco, by Steve Oney
   Even Boas Get the Blues: Pet Hospital, by Delia Ephron




                             _off/
     1rlhl §®@Ir®~ ~ng® @~ @01rnQy
     W@ ~ 9 ~®lffilnliiln$~ ~®aider
       rm {di rnro tu1 li©'l ®r $Ms1PJ ec~ p
     lb)y IX\ift® ~@~®IITl'il lfil

                         \


                                  '    '            I




                                           90l B~       IU        l:1081:l~ HNU
                                 uis                         ac1 o3n ~, oa r.
                                 t,J t SON I   5 1l1 1:JOl:l:lB4 AJ. I Sl:13A IHO
                                   Ad O~                         HJ. IIIS tlU3 f
                                3, d~Usl:1£             ozooro 11~

                                                                                    tHco.,•oaATIHG   NEW\VEST

        Confidential                                                                     TGM0123715
  Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 3 of 15 Page ID #:998

                                                                               CONTENTS
Vot. I, No. I                                                                                                                                                                                      May 1113




FEATURES                                                                  DEPARTMENTS                                                              COLUMNS
72 1lfE SKYLINE 1liAT ATE                                                 11 1.ETTERS                                                              9       BEHU-.1) rnE IJNES
      SAN FRANCISCO                                                       Dumped-<in coa1, bc.iuty quten blun, and a                                B:, Scou KmAfer
B, Stc1.-e Ont,                                                           1<na1or aound1 ofT.                                                      Wlut'1 ;i rrun ro do '" llh I M wttr ld"1 lon~a:1
Tb, billi an: ali.-., with I.he ,ound ct . .. ron•                                                                                                 cu? \\'rU, 6nt you bin a midtn banrndtT.
nnac,ion. Tony lknnrn would •=P·
                                                                          12 CAUFORNIA PEOPLE
                                                                          A modrm-dlly Johnny Applcscnf planll IITO                                111 TuE UVELY ARTS
84 No REGRETS                                                             for t ~ Olympio; Robfn Jotrrcy's baDct t.akn                              B:, Mm Ro. ~                         H1nv:irr
B:, Kau C.Okman. u·iui addi:ional                                         root in LA.: Rc.as.o ww upcr1 o ..; J                                    Op<u •Htc• •••r ln LDt An~lt• &.0d llt=ld
rtporting try PollJ Rose                                                  Bfr\ky advi"" thc urcu1ivc brarvh.                                       g;.-n up the ghou ,n AJ-Ju>d, bur C,o~ B.a-
From onetime barnwd 1o Cal.if:omia'1 le.ad in 1                                                                                                    nud       ..•, ~ Inn on.
(miinin 10 accul((f murdttt:r. Ginny Fo.1 b.J
                                                                          14 NIGHT & DAY
com, a lon1t wiy.                                                         Edirtd fry Ka.thkm Dautrrnwnt Olson                                      120 MOVlES
                                                                          The s1a1.-'1 most authoriu1!,•e guide to pu,..,,                         By Kmncui T""an
88 THE BEST OF CAUFORNIA                                                  concc-ru, rn1aur1nu, a.nd mol'I'..                                        8JiJ, Ir, I'•• and 7lr Oazru!,,t talc- a                       11
B:,CMrklPm,                                                               57 CALIFORNIA REPORTER
                                                                                                                                                    <1111 11rug•k. r«n.ag-, ll) lt . Ooc                          Lhc
Thee 1u1,·1 bell Mcu:.an r,munnt doan'1                                                                                                            ochn dor-,n'I. Mu• C:..,.vd
         la rna.rg&ritu o.-11mo,phaT,jw11,,ef,                            E.diud b:, Tom Dates
                                                                          An Amrricvi'1 dca1h in El Salndor ffld hi,                               124 BooKS
90 ANIMAL HOSPITAL                                                        bmily'1 ~11th (or 11-,c ll'\lth; 1 chat w11h                             By John D. \tf(l21.a, Stn~ Oney
ByOaiaEplm:,n                                                             Muilyn Ch.unbc-n; the d1n!•n ol t1i,ligh1                                T--o n<w boob cbmni.clc: an c,.traorduury
Dog, wi1h tt1tma, uu wi1h ca1.anc11, tunka                                u vinr: and tht l&lt of oo, man'• bathroom.                              cltiptcr in Cah(~ nla halOf')' - 1!1(, in!ua of
on •·i1amin1, IWCI bincn by wir din•
~n-Gnl'J 11..;;w .... u n<Vtr like thi,.
                                                                         108 BEST BETS                                                             Europe'• gr< ..lrll mirxh in thr 19,o.. Plu,r
                                                                                                                                                   Norman ~h.ild, AacinJ Ecni.,p .
                                                                         BJ Swan Subtlt
94 TOPGUNS                                                                      bcu in Lui• and lxd,. c-ookio anJ canh.                            164 \VESTWORD
By~ Yana,                                                                                                                                          B:, R1L1J R:,mcr
                                                                                                                                                   Whm parrnl1 n10-. 10 Cil,lornu, i1 caz1 be a
In tbe age o!rr:mace-o>ntml, ptah•burton war-                            Cover: llluura1ion by PhUip llay,.                                        ,ri,mlc 1ho<k lo .. bmJy'1 found•rion,
~n:. t~ figbtrr pilou ofS,.n Die-go are an odd
aiuchroni1m-runo.lin5rr1 al 40,000 r«,,r.
103 DRIVE-UP DELUXE
B:, Jim Heimann
A tn'bu1c- to a Califuma cuui.c-ilK driv,dn .




    ......                               ,-.t.i.1...i ...-i, byC:.U..- ~ • - -- •- - tnl ~ . r,-udm,. -a..-- ro .... ,,.m. i... ,.,,......, C.IJi..... 'llnAI• ...· - - - _ , ,, ,.,._
• ~ u 4, ~     . " 111JJ.a..CaJ•ba .. tul11),. 01 J)l'1J ,,,, c..,n,•a• 11u1,y~w.. ..1... 1• • 1.1,,JM1rnn·• nl a'l..,_..__ l ... UI w.•• . ..... .. .. ,...., '" *•1-.-.n • ...__,,.....
~ • - , ltw p.LIWtn •                     TM ~-lllf.,,. np-,.;d u ....--..U.. .-.I u.• ul Uarma J.uubWlnl.    1,,,., . ~   I tlw lMtn._ c ..~u~-.. a .,,......,, I~             S.,..,n, Nra \'\'na. ~ rcw a
O..,. aad"·.,.,-o,d. "Tb, ,.._baul'M,aaurnnaomJonwbill'J tar,u,~ """'""-'--Wu,J 1MU"rul1 lilttMra ,.• .,.. __, .. c ~ m a<f'l'-..111                    1;al• mllf'ftl'ld , ,..,.,. , ,., •-1 ... ..,......,y
.J,l'"i th. _,.a.,J,. IO e ur <L.Jm ..._. ~ M w ~ , 1b.a,yrt. .1..&t.. nr-,;ia •r••tt u,,.-"..-....J US cal',-..u 111. •••,-.:-.u, tJI , U1 • ,~, 1ut c.........i.. •.-J )i.tr u ..-. • ...t l tZ.11 ,-,., .....-. t_...
(,wr..c..ddl--,onl,). P•7&1,1,,.l/S        •~,:;iJt•.,.,, •n<•• ••n ....         .,..,. .1:,,i r,,..,nr..- .,.,._.,..i wncr.-,_-,. t:.v-,,.,u_,_,. . _...,.,_, ,.,.,s,._ .. ,~
~ I . a . .n.t u..    P~t.-n               Stt-.d .. i... .-,., ... r-J .. a... An,rltt, caL,twn1&. tnJ .. uh111-..I n •W 1,,. &11Mn ·" " " · ..... ~ -T k l ~ 11. . . ,__ P'lJ ....
w,,o, Loo,.,,....,,, ~ 1'J06V , _ _ , . , 1«ao1 r.. ur, ,.                  >4-•· ,_._1,.. Drrr•-.... ro • • ,~JOD. 1..- .t..,..in.                    .. ""°'-'·
F• ..._,.,._ ~ . ••UO .. ,..__ lttwn,                                      ,...,...., _ , , , . , _ Dopo,1-, ro 1 .. HIOO, I.-                         C.JJ.rw ,WO.I. • ul (1UJ 2H,1t1,.


                                                                                                                                                                 CA L I r O k ',I I A         ~t A c A Z t , L 3


   Confidential                                                                                                                                                                              TGM0123716
 Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 4 of 15 Page ID #:999




Confidential                                                         TGM0123717
Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 5 of 15 Page ID #:1000




 Confidential                                                     TGM0123718
Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 6 of 15 Page ID #:1001




     then Po\sum cilll, nut a new licadinf;                  nulc5 off En!.<'n::ida, when n \"Oice        Yogi's C)' CS bore into 1hc: empty blue
     :i.nd Yogi h:rngs left, :ind tht'y re m:ik-
                                          0

                                                             cr::icklcs m·er the radio to warn of two     sp.1ee before him, looking for the
      ini; 5tra1ght for rocbfs actio n.                      bogc~·s 20 rnilc5 south.                      bo~cys. Nothing c:m stop him now.
          Once me r the ~lc.-.:ican Lordcr the 1                • fu:h1'5 on." 5ays Yogi, who is the          That's when it h.1ppcns. Suddenly a
      pick up !peed, and Yogi i tam jinking. pilot, or "stick," und sits up from.                         soft voic-c is saying ·Atoll• in the c:.u-
      lie \S hips lhe stick- Ilic steering                      "Roger," says Pas.sum , the radar-        phones, nnd by the time Pas.sum spot
      med1:inism lxt\\ccn his lcgs -(m rn intercept ollirer, or "b:ickse:itt'r_- I lc's                   the linle F-5 lxhind them it's too late.
     side 10 side anti rite plane rolls this war aJrcatlt bent over his rad., rsropc,                     Thcy·n~l)('(n racing fat and du mb :ind
     and rh.:it, lc11ing him a nd l'ossum apot punclung buuons on<l looking for the                       happy like a dodo bird, and the F-5-
     anybody making for their tail. From tiny blips or the bogcys-houhot in·                              paintC'd in dc5ert camouflage, no lcu,
     where they 1it, however, it's not their s1nic1on from Top Cun, 1he Na,·y                             which stands out ng:iinst the blue like a
     silver rocket that's roc king but the en· Fis hier Weapons School, flyin g their                     liillboar<l-just rolled in out or no•
    1ire va.st blue dome of sea and sk)1 , dc.ully liule F·5s.                                            where, got on their t:iil, and simular~ I
    TI1crc arc no ups or down, up here, no                      With that, Yogi 5top5 jinking, pc-ch      slipping a ht at•sccking missile up their
    righu or lefts, JUSI a ~rel)' prrcC"ptible off to the ri1iht, and puu1rs the throttk                  exhaust pipe. Atolls arc the nir·to·air
    line K par.:11 ing one blue from a nother, all the wnr into nflcrbmrn:r. t\s 1win                     mi» ilcs th:11 Russian-buih MiG-1h
    and th.:it Jine i1 spinning and t oeing \\'hit c-hot fl:itnct shoot out from the                      C::irt)' , but in thi~ eurcise the " 'O N
    Like mu! in the distance. Yogi w :1.1 still pb ne's exhaust nozzles, the magnifi,                     me:ins, "Up rours, gup, )'Ou'rc dcid
    in junior high scl1ool when he realized cent sihrr machine cxplo<lcs forward,                         and going home with your t:iil bet1,•een
    th.ii flying S1Iaigh1 .and le\·cl might be slamming into their l.J:irkJ likr a rn1ck·                 your nftcrburncn: T heir glorious hop
    ok.ay for s,ome people, but if you like load of bricks and hurling them                               is all :screwed up.
    r ankin~ and banking -the feeling of through the w und barrier. Yogi h:u                                  "I was ju,1 starting: 10 traruition from
   ridi ng inside one of tlio~e storm-in-a• rcl1rarsed this kill in his mind n tlozcn                     mr visual scan aft 10 for..-:ud, and
   bottle rouvcn irs- then there's jun one times. f le11 rut the first bogl')' off nl the                 Possum's visual scan from inside 10
   pl.1ce for you, and tha t's the cockpit of p:iu wi th a 111:atl•on miuilc sJ101, nnd                   outside, :ind we're dead," 1-1ys \'ogi,
   n fighter pll.rlc .                                     thrn, hrraking nnd rolling co u,·oid get·      who is 26 years old :md h:i.s the i:a.ngl)'
       'Jl1cy're nl just nuou1 the righ1 $p01, ting l1i1, he'll rein the plane in and pull                good look, or n J ohn Tr.ivoha, in
   over in1cma1ional watcn some 30 it nround like h ·nnlioe at 1111: end of th e:                         ama.z«I i11dii:na1ion. That's pilot talk
                                                           fi rst j oust and come: raci ng bac k across   for driving without looking, •1t sl,Hled
       EJu.J >'= !7'• fall fu:11:11, •K,ni Cel t.on' the skies for the other. Great fighrer               out goo<l, but it sure got bacl in a
   (/J,rmibn 1982), 1h10,,.i tl,d a;r.z, i n 1/u /if, of a pilots me olwars ohead of their planes,        hurry," Possum u y, , l.iughing . lie is
   Kmr Cuunl) Jamif_J JarmMJ ,pna!i.an                     and, as his nclrcnaJinc surges u11,            25 nml more the Ry:rn O'Ne:i.l tr ~ .

                                                                                                                                            '°'' Ullla


Confidential                                                                                                                        TGM0123719
Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 7 of 15 Page ID #:1002
    "Youft9ht like you train," ft9hter pilots like to say,
    ''so you'd better train like you're 9oin9 to ft9ht.''
    ---------------------;:t---------------------
                                                                          ~fl,




                                                     W
    with brown hair and mustache. -You                              IIEN VOCI AND POSSUM b:uc -wcdgcd imide a for!.: formed 3J
    wish you could do it over ngaint he                             return from a hop :ind fly in- 1-15 and I-BOS crcm diago~ly some
    sap., •but in the re.:i.l world you're not                      to N:ivaJ Air Station Mir• fifteen miles north of S.in Diego-is 10
    gain$ to get n second chance.•                  amar. the first thing chey ,cc :It !he end primp :ind fun over J;evenl hundrcd
       [t 1s evening, and the briefing room of the runwa)' is :i huge red sign m:n- fighter jocks w that when the time
    is quiet. There is a faint MC1m:1 of swcnt ciled the length of :i low, 300-foor-long comes and they're 1t.t.ring down the
    .ind boot polish n.nd jct fuel in                                                                                 minilc racks of a Runian
    the air. fa't'rybody h:u left the                                                                                 MiG , 1J1ey l\J'C primn-1 and
    hangar to bend elbows and                                                                                         ready.
    piny \'idea games and talk                                                                                           Licu1cn:ints Alex ("Yoga,
    great hops at the officers club,                                                                                  Hnnr.i.kis and Dave rP01Sum")
    but Yogi nnd POS$Um sill)'                                                                                       CuUy an: wlut naval lingo
    be.hind, slouching at their                                                                                      terms a -CTew; or an F-H
    desks in their black flight boots                                                                                te3m. There arc twdvc CTI:'-'S
    and green flight suit3 with red                                                                                  in e3ch fighter squadron- in
    tuttlenecks showing. The)' can                                                                                   1hcir case, the VF-I Wolf-
    think of :i.ny number of other                                                                                   pack-i1lld there .u,: a doun
    hops thc)-'d rather t.:i.lk about.                                                                               such squ:idrom sutioncd :it
   Good hops. •In this business                                                                                      Miramar, home hue of all the
   you hate to lose: Yogi s..l)'S,                                                                                   fighter squ:idroru llJigned to
   •,md gelling shot is synony•                                                                                      the U.S. P.ici6c fleet , In ·our"
   mous with losing-gct1ing                                                                                          half of the world, surting at
   )'Our p:i.rnchute nnd dying nnd                                                                                   the C:ilifornia coast and
   all that sort of thing: He waUa                                                                                   stretching west to I.he tip of
   to the blackbow .ind picks up                                                                                     Africa, the Pwlic Fleet m~n-
   .1 couple of fighter pbne                                                                                         tains two hattle groups in con·
   models. Holding the f-14                                                                                          stant readiness, one in tht:
   straight and lc\'cl in his left                                                                                   Indian Ocean and the othcr in
   hand, he raise3 the little F-5                                                                                   the Pacilic, Bigger than many
   with his right and rolls it down                                                                                 small nationi cntire navi-0,
  behind the F- 14, describing                                                                                      each battle group-connsting
  what happened. •You fed just                                                                                      of some half dozen guided mis-
  like kicking yourself in the                                                                                      sile cruixts, two do~en or so
  butt; Pas.sum says.                                                                                               dt_srroyers :md frigates, and llfl
      What makes this particular                                                                                    aircnft c.anier equipped wi1h
  screw-up even worse is that                                                                                       various ea.rly-warmng, sub-
  Yogi and Posrnm are not with                                                                                      mnrinc•{'atrol, :ind a11:a.ck
  their regular S{)uadron, the                                                                                      pbn~- u, in effect, a flo.11ing
  VF- I \\-"olfpack based at Naval                                                                                  hunlc of American territory
  Air St:ilion Miramar in San                                                                                       that can cury a battle to the
  Diego County. 1-'or the last two                                                                                  enemy's doorstep, thw keep-
  wttks they\·e been training at                                                                                    ing it from our own. But these
  Top Cun, J-.foamar's inrer·                                                                                      armed flotilliu arc sitting
  nationally known N:i,-y Fighter                                                                                  ducks. In the Falkland lshn:h
  We~pons School. Just ge11ing                                                                                     la.st summer, lill it rook wa.s
 here was the ultimate break.                                                                                      one £..~o«t miuilc from :i
 Only the beu young flyers in :i                                                                                   plain-\•anilla Super Etendard
 squadron ever m:ikc it, nnd                                                                                       Argentinian plane lo sink the
 they have alrc.1dy r.ic.ed past                                                                                   destroyer HMS SJuffitld, pride
 most fighter pilou their age. If                                                                                  of  the British N:i\'Y, ~o m:iner
 they play it right .ind look                                                                                      how big the ship or how long
 sharp, they might even get in-                                                                                    its cannons, iI i.s hclplcs.s with-
 vited b ack as Top Gun inuruc•                                                                                    out the a.s5ur:intt of •air
 tors - which is as high a.s a                                                                                     superiority• o,'t'r the b31tlcficld.
                                       Tep: Po111,m (J,ji) 11714 }11.ri '4-1.t    b,,a( al Mirrrnari Hoip:, NtJ11M     Th:it's where figh1er pilot.s
tighter pilot can get.                                                         II

     And now they have only Ont. OIi w u,dll, t:rt si/Jwwru, of MiG1 sJ,« dou'TI vi rv'7lhol b;, Tep such iu Yogi nnd Pcwum
three wcck.s left lo miik.e ii up. Cl#I gradll/Jkr. Cmln:· 7M uGJn 1m,', o/ n,wu prrparts.PJ'"l pd~tsfar figure in. Aboard each carrier
•All you c:in do :ir this point is l,,ri/~uJJ Nvr W ou= lkllilm: Yo,ci d"'rihu II ADp ut IN hriL~ roor.:i. arc two F·H fighter squ:1droru
make sure that no wild card                                                                                        whose job is not only 10 protect
ever, rvn jumps on your Cail                     building: Wt:LCm,tt TO flOIITF.R· the b:111le group ngairur nir att:icL but
Pouum says.                                      TOWN. U.S A. Though the crul sign of to ride shorgun over the carrier's thr«
     Yogi shrugs. "h's Millu time; he Miramar is •Home of the Pacific Flee! squadrons of attack pl:ines :u the)' go
say,, h:inging up the little mrvlel fighters,~ Fightcrtown is handier nnd nbout their bombing and str:ifing son ics
plane,, and they he;id our into Che far more :ippropriatc, since the cnlirc inlo enemy territory-what the nil\')'
night.                                           minion or this sprawling 24,000-:icrc c;ul, "power projection .• l11is i.s the
                                                                                                             CAL Ir O II N I A M AC A I I .~ t   91
n,aror.-.»·11 r11 1r TO>< ,......, 1a



 Confidential                                                                                                                  TGM0123720
Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 8 of 15 Page ID #:1003
        anachronism or fighter nviation. E\'-cn or Emcnada come in. •You light like with n Lucky Strike Tavern and Ten
        in this age or r-cmote•control, push· you train, so you'd belier train like Pin Cafe-but becawe it has no real
       button warfare, the survival and cffcc• you're going to fighl,9 fighter pilots like reason for being here. The only centcn
       tiVt:ncu of the entire U.S. Pacific Flcel 10 say. II is nlso where Top Gun comes of a.ctivity, activity that rru111en, arc
       rests on a f~· dozen )'Oung men get• in. ,r Mirnmn.r is ll fighter pilot's the 11rc1chCJ of runway at th.e south
       ting themsd\-"CS catapulted off a flight Camelot, then the Top Gun complex end and the oflicen club al the nonh.
       ded: and hanging it in the slcic, ag:unst in Miram:i.r's Hangar Number One is Ir an eanhqua.ke nruck tomorrow and
       numerically superior, land-bnsc:d King Anhur's Round Table, the ,hook everything off the base c.xa:pl
       enemy planes.                               gathering of 1he greatest of the greats the Bight line lllld the O club, frw
           -Jt's like in the old days,• 1ny1 Com• in fighter aviation. Since iu inception pilots would know the difference.
       mander J ad ("Gringo; Snyder, leader in 1968, Top Gun's hotshot aces have                Among the fighter pilots al Mir•
      of the ½'olrpnclc, "'when one knigh1 vinua.lly revolutionized the lighter amar, •officers club• does not refer to
      from each side would come out and pilot business nnd, with the possible the sprawling complex or dining rooms
      they'd joust, one on a white horse nnd exception of the Israeli Air force, and meeting hnlls, but rather to the
      one on a blaclc horse,• Tall and ~·i11•, CJtabliihcd themsch·ea :u the inrernD.· small tpatt 111 the heart of the building
      which comes from doing 200 push-ups tional masters of the deaclly art of air- that begins in a vestibule covered from
      and 100 sit•ups a day in preparation to-nir combnt .                                   floor to ceiling with heavily carved
      for thcjowt. Gringo flew an F-4 Plun•          Like the nor ion or the single•comb.:it wooden plaques - more like coats of
     tom in the Vietruun War. He knows warrior, there is something slightly arms-of the vnriolll squadrons. Thi1
     truit even the greatest air battle is a nostalgic about Naval Air Station is the enlrancc to the WOXOF Room,
     aeries or individual duels-that, while Miramar. At nigh! the darkened b:ue the inner sanctum of Miramar',
     a dozen pilou rru1)' blast off a carrier at could be mistaken for an old From /In, knightly order. (In aviation circles the
     one time, once they get up there they to Elmiity set, and even earlier in the letten and zeros in WOXOF refer to
     arc alone, hunling through enemy llir day, when the base is bustling, it is en· various unfavorable weather condi•
     at 750 miles an hour and tilting again.st ,·doped in a time warp of unreality. tions-X means •obscured; for exam·
     tiny motes of silver that zoom out of Not just because ii looks like a small pie, and Fmeans "fog"-and strung to-
    the blue to become fire-spilling deicn town out of the 1950s- tract gether the letten mean, •You're
    machines.                                     houses, :i supcnnnrlcrt, a Bnskin- ~unded, wby not maltc the best or
         \.\'hich u where keeping bogcp off Robbins ice: crcnm parlor, :,, golf 11?j Inside, the walls arc hung with
    )'Our tail llnd that little hop off the roast course, and a bowling nllcy complete more: squadron emblcnu, and there


                                     FIGHTERTOWN, U.S.A.
          Old pilots never die-they move to San Die90.
     N
              AVAL AIR STATIO~                                                                       boo", ~i&idi Cunrl Fighln
              Mira.mar may be the                                                                    Au (AJay Enterprises,
              •official" Fightcnown,                                                                  1978). The Fighter Aces
       U.S.A. , but if you were to                                                                   Association meets every
      paint the name on the side                                                                     thrtt month! at the Rancho
      of a blimp and send ii soar·                                                                   ~nta Fe Inn "to tell "'ar
      ing over all of San Diego                                                                      stories and lie to one
      County you would still be                                                                      another a lot,• s.ap Cor-
      on the marlc. Ever since the                                                                   mier, and other fighter
      dawn of the dogfight age,                                                                      pilots congregate at the San
      ex-fighter pilots have                                                                         Diego AerosP3cc MuSC'Um
     drifted to this balmy land                                                                      in Brubo3 Park. Man>°,
     of aza.lca.t and great blue                                                                     however, ma.kc their p1l·
      yondcn.                                                                                        grimages lo Miramar.
        At Palomar Airport Diclc                                                                        There, just outside the
      Martin lovingly restores old                                                                   WOXOF Room of the
     World Wu II Spitfires and (uft"' n"rJ) Warld War I pi/.oJ RN>m Todd. uh UIT11U6 =i Tmi officers club, whcr-c tocby's
     Conain and P-51 Mus· lmrplurr, whflrw in Wtnfd War If, lfl".d ll'illj Driuoll, • Yi"ttllanl «t. young fighter jocu trade
     tang, for use in films or                                                                       tnlcs of great hops, is
     TV r.cric:s such ns B(J,fl Baa B/Juk ShLtp, based on the dart:• tl1e b.uc'a Aviation HaU of Fame, a 3Q-foot h.:illway
     devil cxploi11 of Gregory "Pappf Boyington and his co\"crcd with ponraits of nviation legends from Charles
     unruly VMF-214 squadron. Just n few miles away in Es• Lindbergh to Chuck Ycagcr. In a la~ room at the end
    amdido, Richud R011i, a Flying Tigen ace who actually or the hall, members of the 50-ycar-old Daedalian club
    flew with Boyington, raises avocados. Thomas gather on the second Thursday of each month 10 hoist a
     LanphiC'r-who on April 18, 1943, al1ot down njapanesc least to comrades who ha,•e flown their Lut ffighu :md 10
    bomber arrying Admiral lsoroku Yamamo10, archilecl wish hnppr landings 10 those who still show up. They
    of the raid on Pearl Harbor-lives in San Diego, and so span the lmtory of fighter aviation, these men who Rew
    do uh Cormier, who shot down eigl11 Japanese planes Jcnny1 and Mustan~ and F-8 Cnwdcn. Some go clear
    in World War II, and Charlie Stimpson, who hu o,·icc as back to tJ1e bcgiumng. Navy Commander Carhon D .
    many notches on his World \Var II record.                        Palmer, 93, mndc lhc lint Righi off a battleship bxk
       The Nonh San Diego branch of1hc Figh1er Aces Ano• in 1922, launching his Sopwilh C:uncl off 11 mrumhift
   cia1ion alone lw twelve membcn, each of whom 1h01 ramp ntop the gun 1urre1s of the USS Trxas, and a
   down al lea.JI five enemy planes, and some go back 10 year later he made the finl carrier landing in a milit.i.ry
   WorW War I. Robert M. Todd 1h01 down five German plane. Somehow, 10 hear him tell it, it doesn't seem so
   ,.lane• in die rummer of 1918, then told nil about it in his long ngo.                                                 - E. y.




Confidential                                                                                                 TGM0123721
You never 9et used to ni9ht carrier landin9s. ''Ifyou
Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 9 of 15 Page ID #:1004


do,'' Or9an says,''there's somethin9 wron9 with you.''
---------------------~j--------------------
arc glO\\ing Z:lx.,on and Donkey Kong he says. "'Thnt'1 not tonurc, lh,u's moon. So once out of high school he
\'1dc-o games and a small s1agc lit in good. I /ih pulling Gs. [ /il.r strapping rut off hil long hair, 1h.avc:d his beard,
reds and greens where, this C\"ening, on 2~ tons of airplane and hu1tling and entered the U.S. Naval Acadarry
two young .i.nd zesty girls in bikinis arc nround the sky. I like thllt."                         in Annapcli,, Maryl.and. There was a
disco dancing.                                  So that's where it all starts. With the ,mall flying 1chool at a nearby civilian
     le is the \-\'c:dne5day night happy love or flying.                                          airport, and in his senior yeu he
hour, nnd the small, noisy                                                                                  logged a few solo houn - it
room is packed with pumped-                                                                                 w;un'I military 8ying, or
up fig-liter jock5. There is n                                                                              coune, more Jiu putt-putting
li,·cly trade at the bar, mostJ>•                                                                           around iruide a bwn mower
in light beer, but out of this                                                                              with win~, but it w.u bett.er
crowd of W or liO men no more                                                                               th:i.n nothing. He grad~tcd in
than 3 arc looking at the nearly                                                                            1978, ,ix months before hi.J
nude d.anccn. With r.iw sex                                                                                 flight training w.u to 11art, and
\ol·av-ing right in front of their                                                                          wiu put on tanporary duty with
e)-cs, these supremely he:1hh>•                                                                             Vf•I 11 squadron at Miramar,
young males arc standing                                                                                    which w.u j11.11 awitchjng from
around in l\\'OS and threo and                                                                              F--4 Phantmru 10 awc,omc F-14
talking about the hop. You                                                                                  Tomcau.      Suddenly be was
don't ~ ·en have to lisu~n to                                                                               lunging out with ru.l fighter
C!ltch on -just watch their                                                                                 pilots, sitting in on real
hand1 tracing loops a.nd rolu                                                                               briefing,, and t"Yen hitching
and aerial ambushes with the                                                                                rid~ in the baclucat of an A..+
grace of a ballerina's.                                                                                     Skyh.awk, getting bumped and
     Lieutenant Commander                                                                                   bounced and breathless pulling
CJ. ("Heater") Heatley is one                                                                               Gs. h blew hu mind, he rcmcm·
                                                                                                            ben, but thc:rc w.u a.n admi.J•
of the Wolfpack's top F-14
 driv~. Tall and boy-ish, with                                                                              sion   price to this Lind or the
curly brown hair and quiet                                                                                  gianu. "I had to do ~-cll in
 blue eyes, Heater likes to think                                                                           flight school,• Yogi says, '"be--
 things out, such as the rc.,.son                                                                           cause only by being at the top
 fighter pilots hang together                                                                               of the cLu:, could I get my
 and •,hoot olf their w:itch~ in                                                                            choi~ of fiy-infi: fighters, and get
                                                                                                            10 fly F-lh." In September
 the WOXOF Room . They do
                                                                                                            1980 he finish~ Bight sdiool at
 it, he says, for the same reason                                                                           the top of his cLus and, with
 stunt men or Joseph \Varn•
                                                                                                            his new gold wings glistening on
baugh's cops or anybody else:                                                                               his tropio.l khakis, headed for
 who h:lllgs ii out there (or a liv-
                                                                                                            VF•l24 squadron at Mira.mar.
 ing heads for II b3r afrcr a day's                                                                             Dave Gull)' wu born in
 work. "You•~ out there super·                                                                               Detroit and grc:-w up in New•
 wnic going from dcc.k to 40,000                                                                            port Bc.i.ch. He ~ntc:d to By,
 feet and back down to the deck,                                                                            too - ju1t like hi, older
simulati.ng killing people                                                                                  brothc.r , an army hdiooptc:r
and getting youn.clf kill_c:d,                                                                               pilot in Vietna.rn- but his
handling actual erncrgc:ncic_s,                                                                             brother told him to be smut,
and when you finally come in                                                                                 to go to college and truce
and land you can't even rcU                                                                                  ROTC on the side. He entc~d
your wife about it,." he says.                                                                               UCLA in 1975, puynf ice
•How do you explain 6. 5 Gs                                                                                 hockey nnd lacrosse, :md in
(six and a half times ,t11e .ro~e                                                                           June I 979 graduated iu nn
of graviry)-that you ~e siumg                                                                               officer with a degrtt in eco-
there and you weigh 200                                                                                      nomics. He nlrt:ll.dy knew he
pound_s, but when you tum for                                                                               c-ouldn't be a pilot . His c)·cs
 thal bad guy you suddenly Top: With iu /""r a,m ofJliiltJ Jal;, W USS Rang-e_r ,a~ a,.n:ffl• wertn't good enough. But n.a,'Y
"'·eigh more than J ,300? Or mt.tdall 111 1714l1J 111 BS plPIII (IAnr r.n"fllt fa/Jtd u.-41/1 p,,,ftd)- fighter planes ha,,c: 1'1'1-0-miUl
how if } 'OU puU 100 m:rny Gs 3 ond tu•o 1r,"1>a1Am. Bott=: I• tJu ""111 t.sn.altJ drill, IN trttvt ,arrirr rocl:pi11, and the sight re-
l01 of 11mcs you start lo black '1tW rffJlll.J ,rzri,,u., u ,pnf·<aU Jt tn4nol, i111[114i"l newt alliJU. quirements for back.1eaters
out and how do you explain                                                                                  aren't ns &trice, •It w,u like,


                                                 A
thai you were in n.n airpl.ine                           LEX HNARAKIS WANTEDTO FLY there were the card.1, 11.nd l could take
 flying around and you blacked out?9                     ever since he was twtlve, when my hand or walk out: Possum uys.
     So th,11'3 the torture. But what about
                                                         in 1968 he sat in front of the "But I wan1c<l 10 fly .• He w:u "stuh('(j
 the good things?                                                                                 on temporary duty at the Na,'Y Fighter
      Heater throws up his hands . He TV al his parent,' home in the suburbs Weapons School at Miramar. In the
 knew it was pointless even to try to ex•    or Washington,         D.O.,  and   watd1cd    the
                                                                                                  summer o( 1980 he ume out of flight
                                             Apollo 8 Mlronauts Hying around the
 plajn. "But those art the good things,"
                                                                                                          C>.LlrOll1"1A MA C AZINt           99
fHOT0GILAP'l(Ul IY C.I HLtoll.lrV



Confidential                                                                                                               TGM0123722
  Casewith
school     2:22-cv-03846-PA-GJS
                his Naval Flight Officer crew.Document
                                                    Its wings 53-1
                                                              can sweepFiled
                                                                          back 11/06/23       Page
                                                                                for fast is the  F-H's10price.
                                                                                                          of 15ThePage   nat ID
                                                                                                                             b:iteh
wings, married his high school sweet•       fl)'in~  or     #:1005
                                                         open  10  the  sides  like  nn  of Tomcats    10 roll off I.he: Grumman
hean. nnd was ns.signed to VF-124. e.igle s for landing or just for cruisjng Aermpace :membly line on Long
That's where Yogi 11J1d Pouum met, around-•]oitcrin!( In navy jargon. h hlllnd wilJ cmt $36 million api«c,
while learning to fly F-l 4s.               cnn shoot up to 30,000 (~t in one which doesn't leave much for an ad~
   Yogi had flown jets in flight school- minute, fl)' at more: than twice: the: quatc stock of spare paru or for new
the T-2 Buckeye and A-4 Skyhnwk - !p<:t'd of sound, :md h:tul seven tons of repbccmenls for the pl.,nc's trouble-
but moving up 10 the F·14 Tomcn1 guns and missiles-including the heat· some Tf-30 engines. The TF-30s
meant crossing the magic line lhnl seeking Side\"inder, the radnr-guided, "have been, over the years, on a com-
scpMales the men from the boys, like mid-range Sparrow, .nnd ns many ru pnrative basis, 1t.1ll·pronc/ says Rear
first-lime k.", gloriom nnd terrifying. six Phoenix miuilcs, half-ton monJten Admiral George M. (-'Tiger One1
The diffcrc:ncc is I.he afterburner, an that c-nn home in on a bombc:r more Furlong Jr., commander of the: Pacific
engine component th:11 nt the pull or a tlun JOO miles away. In fact, the F•l4's Fleet fighter squadrons. At. high angles
throttle begins 10 bum huge amounts radar system con track 24 tnr~cu nt of flight, not enough air nows into the
of fuel nt inc:.redible speed, resulting in ont:l: and fire six missiles m six engines, and they die-and in very
a bunt of powcr 1hat n.o ordinary jct different dircclions in rapid sequence. rare instances the only way to rcstan
engine cnn duplicate nnd no plane but By comparison, the much smaller Rus• an F-14 in the air is to point it nose
a fighter e\"U needs. •Ju~t geuing into ,ian MiC carries little more than gum down and dive until the airflow s12ru
an afterbuming :iircroft is a sensntion and n few mi5siles, nnd mus! get quite rhe fans going.
mosl ;ittnck guys will nc\'er know- close lo n target-directly behind in                   The F • l-4 bas been eLigued wirh
t.hnt feeling of power; 511)"5 Lieutenant order to use iu heat•sce'king AtoUs-10 other techniatl troubles unce its intr~
Rick r<)rganj Hammond, 11 member hit it.                                                 duction in 1972, and in 1976 a deadly
of the TK Top Gun squadron. "The                But the F-14 does have its draw• streak of accidents swept Miramar,
6nt time I lit the afterburner in ;m back5. 1l1e pl.im:'s enorn1ous size is ;i killing four men in one 48-hour period
F-14, I.he airplnnejusl, you know, just disad\'anrnge (ii can be seen as for nlone. That none of thc:sc: accidenrs
literally rru,~rd:                          nwnr ns ten miles), and it is so tech- dampened the pilob' cnthusiMm for
   The f-li Tomcat is the U.S. N,l\"y's nically complex that it takes between the plane is jun another clue to the
supreme air war m:ichine, a huge, lux- 20 :md 25 houu of work by ground fighter pilot's code. "They hnve an in•
urious monster that could hn\'c hcrn crews to keep it flying for just one credible denial mechanism,• say, Cap-
designed by the SltZT H'ar1 special effects hour. 111e biggest problem, however, t.iin R.A. Millington, flight rurgeon

                 DREAM MACHINE
   Step into the Ti9ershark-the ultimate video 9ame.
   S
        UPERACECUUCK YEA·                                                                         ..range while scardl."' A plot
        gcr, the first pilot to                                                                   (which looks like n rndar-
        brcak the sound bar·                                                                      Kopc) of the range in ques-
   rier, once said th:it •or :ill                                                                 tion will appear on your
   the airplana in the world                                                                      right-hand digiw duplay
   that I've flown, the F-5 is                                                                    indicator.
   the most fun to ily! The F-5                                                                      l. The right-hand dig-
   is actually a family of                                                                        ital display indicator. If
   planes, 11aning with the                                                                       1hen:'s n bogey out there, it
   F•SA bade in 1964 and cul·                                                                     will appear on this scrttn as
   minating last year with the                                                                    11 small buck square. To
   F•SG Tigenhark (now called                                                                     lock )"Our radar onto iu lllil,
   F-20). All arc degant, zippy                                                                   pn:ss the thro1tle's acqui.si-
  beauties with body lines so                                                                     tion button until the scrttn'1
  trim they look like canoes                                                                      ncquisition symbol (two~
  with wing,.                                                                                     alkl vcnical line,) brackets
     The only fighter plane                                                                       1hc target. Suddenly the .ic-
  mD.dc in California, the F·5                                                                    quisition symbol disappcan,
  is 1Ln anomaly in the high•                                                                     and a numbered n1ming
  budget defen~ business. It                                                                      circle appears around the
  is not only small, effective,                                                                   blac.lc square- this tells )'OU
  and easy 10 repair, but ii is                                                                    at a gltin<'C how fa.st, how
  also very cheap. The F-5E Tiger lh med by Top Gun in•            high, nnd in what direction the hogey is going.
  11ruc1ors 10 simulnte Rwsian MiG.s co5l around U million            4. The bead-up display. From this point on, you cnn
  ench, and even the top-of•thc•linc Tigcnharlc list.1 nt onlr     look straight through your hcad•up display and sec bo1h
  $9 million-one quarter the. price or n single F-14 Tomcat.       the rcal target nnd the head-up steering circle (which
     The navy couW court-mnrtial anyone it caught show·            looks like a bull's·c>·e) iirnuhnneou.sl)'.
  ing off the c1l1Ssi6ed cockpit of the F-14, Lui hen:'a how to       5. The left-hand digital display indicator, On this
  make a hop in an F-20:                                           screen i1 n list of your m·ailablc mi"ilc1 and ~>un nmmu•
     l . TI1e atlck. Say you're en1cring bo~cy country. To         nition. Once you hn,•c picked your weapon, maneuver
  find out what's ahead, push the 11ir-to-a1r weapon sdect         the plane until the head-up display's steering circle is
  bunon with your right thumb. (This is basically an •on•          directly over your target. When )'ou rt':lch the proper
  awitc.h-your head-up_ disrlay and digital display indi-          range 1hc word SHOOT will Huh onto your head-up
  cators ore now operaung.                                         display. Pull the stick's missile release or gun trigger with
     2. The throttle. With your left index finger, 11dcct          your nght inde."t finger. Bingo.                      -E.Y.




Confidential                                                                                                TGM0123723
'' How     do you explain 6.5#:1006     Gs?" Heater asks. "That
   Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 11 of 15 Page ID


 you make a turn and suddenly wei9h 1,300 pounds?"
---------------------:~:.; _____________________                               ·•i&·
for the Pacific Fie-ti's aircrews. When thcn:'s one thing left to do before you school, of coune, and practiced night
:m aviator dies, his picture is rcmo\'cd join your permanent opcmtional squad- Llndings on the silhouette of a flight
from the squadron roster, hi.s locker ron . It is something so awful, so mo.rti• dee.Jc p.3.inted on a rcgubr runway. But
emptiNI of hi5 pcr.son:il belongings, fying, thnt the dread of it stays with nothing, "otltint prepare, you for
and :ill other tracci of his presence on pilots for ru long ns they remain naval what's coming next.
the ha!e arc obliterated . Even accident aviaton. "There's some fe.ar every time                                         You are flying out of :i bl.u:.k sky
rcpom that clearly demon-                                                                                                        onto a black sea, and suddenly
!lrate technical failu~ don't                                                                                                    you sec a dot of white light
erase the lingering doubt.                                                                                                       milc.s away in the void. The
-You think thett mun have                                                                                                        ,·oicc on the radio tdb you
been srmuthing he could have                                                                                                     that's the ship down there, but
done :ind didn't-that if it were                                                                                                 all you sec is the little light you
you it wouldn't have hnp-                                                                                                        mus• follow down into the con-
pcncd,• Heater 5a)'5. "Such                                                                                                      trolled craJh that u a carrier
planes take off and land every                                                                                                   landing in 1hc best of 1imcs. If
day wi1hout accidents, so ob-                                               •tllliiii:-:.;;.~                                    you arc lucky the sea is c.alm
\'iouJr it c.an be done:                                                                                                         and the air is dear, bu1 if the
    It takes nine months to learn                                                                                                light bounces in the darlc you
how it is done. You stan by                                                                                                      h.ive no way or knowing which
~pending houn and even days                                                                            •..,.._.::u.a1111:1       is moving, }'OU or the ship. All
in flight simulaton that cost il.S                                                                                               you know is that somewhcn
much as real planes but can't                                            ,~'!~...;;.-.._1              .}.,fJ' :'!'=.t/J;,      down there is a 60-foot w:tll of
er.uh and don'1 u~ gasoline              ....._;.,.,,jj-=~ 5SCI!,                                                               steel and only 700 feet of dctl.
                                                                      =-,_,,.....,_l~~~~r-1 rfyou hi1100 low youll have 10
                                                                                              ~~.-..,1,o,i;,

(you can train an hour :i da)'
 for a whole v.-ttk in a !imul:ttor                                     ...,..- _...,.,.. ,..                                   be sc.r aped in bits and pieco
 for what it would cost to fly 60                                                                                               off the side of the ship, and if
minutes in an F-14, which                                                                                                       you come in too high and fail
bums S1,500 an hour in gas                                                                                                      10 snag the restraining cables
 a.lone~. Some of the simubtors                                                                                                 with your 1.ailhoolc rou1I luvc
 arc simple-a coclcpi1 wi1h a 1--------'-~--,;;,~"!!""~ ~                                                                       10 come around again-and
 small screen in fron1 -but                                                                                                     you've already sc:n:v.-c:·d up
 once you master the basic                                                                                                      once . •
 you're ready ror the bighe5l                                                                                                       The VF-I Wolfpaclc Will out
 high-tech high, the 2f-112, the                                                                                                on crui,c in the Indian Ociea.n
 v.-orld's ultimate video game.                                                                                                 one pa.nicularl)' rough, cLuk
     You don't just sit and play                                                                                                night when a pilot had to come
 the 2f-l 12, you walk into it                                                                                                  around twelve times. Ta.-d:"(
 lilte an H.G. Wells traveler                                                                                                   timts. The poor guy ~d no-
 stepping into the time                                         ,;...,-'!!~                                                     where ehe to go, and he t..i.me
 machine .. You :i.n<l your radar                                                                                               around and around, burning :10
 intercept officer climb up and                                                                                                 much foci that twice tanlu:n
 strap into an F-14 cockpit                                                                                                     launched off and rcfueJ.ed him
 mounted twent}' feet high, at                                            - i::.a.....,'"-..,- -~                               in midair and landed on the
 the center of a 40-foot• ,                :---~---:::                                                                          pitching ded while he w-:u still
 diameter spherical room. The                                                                                                   out there trying to m:ike it
 lights go off, and suddenly the                                                                                                down. When he finally did, he
 entire dome becomcj the great                                                                                                  hit the dcclc so hMd th,11 he
 outdoors. The illusion ofllying                                                                                                damaged 1hc pl.me, :ind whc.n
 is total-move the stick and                                                                                                    he climbed out of the cockpit he
 the scenery moves in response,                                                                                                 w;:is crying .ind looked Ii.kc an

 rolling and soaring and falling.                                                                                               old m.ui. "You ne\'cr ~t wed
 The real action begins as the                                                                                                  to it," uys Org-3.n, "·ho ut up
 bogeys start coming at you,                                                                                                    half th:u night watching his
 and you pull and push and - - - - - -                                                                                          budd}' trying 10 come bade out
 twist the stick, trying 10 k.cep TDfJ (left 11, n'tlil):    F-5£ T~ II, a,i .A -# St_,M!l..t pai,ud
                                                                  .A"                                                        i11of the sky. •If you do, !here's
 them off your ta.ii and gel onto                lrN1 art
                                            ,ano11fo,g,,            lwd Ao,,u
                                                                 F - U   Tomtal           o j l n   dDifi1,hh."111    )'111"'1, something wrong with
                                                                                                                     or:tr




 theirs instud. Screw up and .ArizDJt4. ~ r r i: 1iLo F-11 pilw dmwruJraJt IN Q!11i1J twl l'Wf of                                   By the fall of 1981 Yog1 and
 you go into a spin, and if you wir 25•/DJr nwmrurs a ,t,mic Dlu, ,bld 1ad·•f4.6clc-!" ll'laltl1lrff, Possum had finished their
                                                                    in




 don't maltc the right move, to - - - - - - - - - - - -- - - -- - - - trairun~ at VF•124 and were
 pull out of it, you crash. The room you're in the air, mixed with excite- iusigncd to their permanent squadron,
 goes bliu:k.                                   ment and thrill and tension,• Yo~ t~ Vf-1- the squadron they will fty to
    Simulator llights arc followed by real says, "'bu1 a night c:.-irrier landing 1s b.·utle with in the event of war. For 3..1
flights-low and high, formation flight, the only thing that is sheer, un• long iu the)' rcm:iin with the Wolfpack,
.ind air combat maneuvers-llnd fi. miti~ated terror." You've done day it will be their home and family,
nally, by the last month of training, landings on carrien back in Right security bla.n1cet and confes.sional

~ttOTOOIAhltD n U llf.UU\'



 Confidential                                                                                                                              TGM0123724
   Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 12 of 15 Page ID
                     ruu
  circle. Pouum's wife, Lisa.      already
                             Heading their way wu a massive Rus• a car and went sight•1tting. Before
                                        #:1007
  joined the Wolfpack'a wives group, her    sian plane that looked like a transport blowing lown, however, the Wolfpack
  family when Possum is out al sea, and     but could have been anything. As they organized a buh. The invitations-en•
  in time she will realize that her hus•    escorted the plane away, Yogi edged up ~vcd-wcnt out to every city official
  band will spend more houn or their        so close thar he could look over and sec tn Perth they could think of, au wcll as
  married ye.an with Yogi than with her.    the Russians in their cockpit, ,taring al to the other fighter squadrons. That,
   Indeed, shortly ar1er Yogi and Possum    him and ,napping photograph,. He everybody had to admit, was clus.
  Joined the Wolfpack, they began train•    waved the way one docs when some•             But nobody expected clan at Subic
   mg for a sea tour, and in a few months   one is taking ptctun:s, bul the Russians Bay near Manila, where the Rmittr
   they wen: ready. Possum helped Liu       didn't wave back-not even when !hen stopped for five days. Sometim?
  lock up the apartment and ltort their     Yogi's backscatcr took their picture.      11 seems that lhe only reason the Cubic
  belonging,, then drove her to her            Yogi and Possum Bew at least once a Point naval base was built there, with
   parents' home in Newport Beach,          day off the Rtmgn, but mosr Bights i11 officer, dub high on a hill overlook•
   where she would stay for au long as he   were ordin:iry patrols or exercises. ing the bay, was to gi~ naval avaton
   was at sea. And on April 7, 1982, the    There was linle air combat, except back from a crui1e a place lo let off
  Wolfpaclt took off from Miramar and       when a few F-14 drivers would head 11eam. Anything goes, including, after
   landed aboard the USS R411gtr, already   out 10 a randomly selected •MiG alley" enough beer went down one evening,
   under "'ll)' 100 miles south of San      over the: ocean and practice dog· pushing all the tables together in the
   Diego. It would be six months before     fighting. Years ago, legend has it, shape of a carrier dedr., stretching a
   they'd be bad.                           some of the men on a cruise would play few towels across, and doing belly
                                            other games, games they would have landings. Somehow somc:body rcmcm•

  S
        PACESHIP DESIGNERS COULD USE b«n drummed out or the navy for if bcrcd to pick up the n.ew Wolfpad
        the aircraft carrier as a model. they were ever caught playing. In the plaque and the cwtom-made rcd-on-
        With 5,000 men aboard, ii is a game of •thumping," a guy might be gray flight suits, and even to have
  Boating stttl city, complete with office Bring straight and level without a care Gringo'• big bra11 bell mounted on a
  ruites, apartments, parking lots, and in the world when another would come 1pccially engraved base.
  machine shops securely hidden under slinking behind and below, then shoot               Delivering the bell to the WOXOF
  a dcc.k 10 solid that a 25•ton plane unde.r him and go into a sharp climb Room wu a great event. It wu no
  can crash onto it and it won't even right in front or hia nose-not only ordinary bell. The Wolfpack had
  be felt below the main level. And as scaring the living daylights out of him brought it for a purpo,e, to help up-
  in any city, one can live and work but interrupting the air currents hold the dub'• bylaws, which state that
  for months and meet only a handful around his win~•·                                a bell should be rung on two ocra•
  or ~ple and never visit entire               lbough Yogi would dogfight with sions -whe.n 10mconc walks into the
  neighborhoods.                            the bcit of them, he was almost 100 club with his bat on, or when a c-us•
     On Yogi and Possum's fi_nt cruise serious for the Wolfpack aowd, and he tomer finds hinucUbchind the bar. On
  the RtmttT stopped in Hawaii for a kw tried to use those long ocean flights to eilher occasion, the transgrcs,or picks
  days, lhcn for four days in the Philip- improve bis ftyin~ skills. •He was like a up lhc tab for everybody's drinks. Of
  pines, where several time-honored sponge, IOUing at all in: saya Heater, counc, to hang the bell the Wolfpack
  naval avuuion customs were fo]lo'\11,-cd. once an instructor at Top Gun and had to get behind the bar, but what the
  A team was sent out 10 look over the Yogi's instructor on the cruise. They hell-the going was still fint class.
  wood-carving shops in downtown spent hours talking tactics In the                       Shortly after they returned 10
  Manila and place an order for a new briefing room before and after mis- Miramar, Yogi and Possum were a,-
  Wolfp:ick plaque to hang at the en- sions and in the dining room during aigned 10 8y together. They had done
  trance or Mi.nunar's WOXOF Room. meals, and then Heater began teaching well 1eparatdy on the crui,c, and even
  Then the entire squadron was Yogi classic air maneuvers such as the better once they became a team. In
  measured for snazzy new red-on-gray "verticaJ egg,- in which two planes fact, they did 10 well together that last
  Bight suits, which downtown tailon chase each other in ever-widening ver- January they were told to report to
  could whip up for only S27 each. By tical loops. And while Yogi was learn· Top Gun for air combat training. Now
   the time the Rtmttr stopped by again ing from Heater, Pouum was doing they would learn what being a fighter
   on its way home, everything would be the aame sining behind Gringo.                pilot is really all about.
   ready. The next port wu Singapore.          Finally, after more than three


                                                                                        I
   There Gringo located a good-size brass            In the ,teaming Indian Ocean,          F WAR BROKE OUT AND THIS
   bell that the Wolfpack would also pre· the Ranter started to head home:. The            country• avaton were JQCfy for
   sent to the club when it returned.       first stop wuuld be Perth, Australia,           i1, it would be a first, and the credit
     But then the Rantrr reached the In· and the Wotrpac.k was determined to would belong cntircly to Top Gun,
  dia.n Ocean and stayed there for 101 do it in atylc. Few of the men knew located in a 1CCOnd-8oor c:ubby of
  daya, and 1hc fun was o~r. It finally how or when Gringo bad planned it, offices at the east end of Hangar One at
  dawned on Yogi that yanking and but no aooner had the Rpttr dropped Miramar. There is history on the hiJh
  banking hu a deadly intent. Naturally anchor than a gloriow sailing yacht walls th.It flank the pipe-railed 11&1r-
  he knew that being a fighter pilot materialized alongside with a huge way-they arc covered with red sten·
  m.cant that someday he might have to 1ign on itt ma.JI: WELCOME WOLF• ciled ailhoueucs of MiG• shoe down in
  go into real-lire battle, but it wasn't PACK. When the VF·l gang got on combat by Top Gun graduates- For a
  10mcd1lng he looked forward 10. •rm board lhcre were bottles of chilled young fighter jock awattgering up the
  no                 Yogi muucl one eve- champagne waiting, which they 1tain in a brand-new ll,ght jacket, the
  ning. •1 don't care if we never go to hois1ed in full ,i,ht ofthe poor 1ucken effect is awesome. At the top of the
  war. 1ne only thing is, if we do fd atill wailing to hitch a ride lo shore.         staircase arc two large silhouettes aten•
  like to be there." One day an order          The fint thing Yogi did when he got clled in black. They arc two Ltoyan
  came over the carrier', apeaken, and In wu pull out a phone book, call up a SU-22 jell ba~ in 1981 over the
  Yogi and Healer blasted olf the deck couple of 1kydiv1ng clubs, then head Gulf of Sidra by two F•H crews from
  like human cannonballs, their F-141 out with them to do tome Cree-falling. the USS lvuniu, and the only air kill•
  loaded 10 the gilla with live ammo. Pouum and a few of the othcn rented                                 (cnli111ud OIi rt' 141)

  102   M.H   198'


Confidential                                                                                                TGM0123725
  Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 13 of 15 Page ID
    TOP GUNS                            #:1008
                             fo•t liulr MiG~ wn1 something else. da55ic single-scaler lighter, and thcn
                                                     In the sprin,:; of 1969 a kw crack          against Mongooses, strippt"d·do,m
    (ror.linurd/ro'TI f't:_f!f /02)              lli!(ht instrurton with VF-121, 1he F-4         A·4 Sk)•hawk.'1 1hat made great MiC
    sinn· tht' \'irrnam Wnr.                     l'h:1111om ,mining group 111 Mirnmar,           imi1nron. Ay 1hc rime 1hc air war
       In 196i. just as Yoi;i ancl 1'1m11111    f:111 to,::ether in a small rrniler ourside     over Vietnam w;u resumed in early
    wen: c·ntcring the- 1hird grncle, North     their hangar 10 estahlid1 the U .S . Novy        1972 nrtcr two years or inacrion, scores
    Vietnnmcse gunboats fired on the U .S.       Post~rodunte Coune in FiRhtcr                  of Top Gun graduates were out on
   de~rmrer Maddo.x in the Gulf or Tonkin       Wrnpons Tncrirs and Doctrine. In                 1hcir carriers off rhc roast and MiGs
   (or so Pn:-sidrnt Lyndon Johnson in-         timr it would be n:namcd the Nn,·y               were hc:ing shol down all over the
   ~i~tc-d), a war 11:irrd up. :ind ~mlclrnly    Fighter Weapon, Sd1oul, hut it w;u              pl:lre. Tiir ruwy's. kill ra1io zoomed to
   hoo.hor naval a\·iaron were ~ellins          Tor, Gun - 1hr nnme of nn nnnunl nir-           twelve ro one. But 1he final ~al of ap-
   cn-amcd l,y Charlic Jlilou who wrrc          tu-nir gun compcrition held by 1hc              proval on the Top Gun concept came
   ju~, lrnrnini; how 10 clrivr their cnrly-    \'n riou~ nrmctl ~rvict's in the 1940s          on Mn.y IO, 1972, when rwo recent
   modc-1 MiG-15s and - 17s. Thc navv           and '5(h- 1ha1 sturk. ln~idc the rrniler        graduarcs., lieulcnants Randall
   w:n losing onc PhJntorn for e\'CI')' tw~     wrre two tiny olfire~, n nnrmw hall•            ("Randy") Cunningham an<I William
   MiGs it bagsrd. A 1968 study CIIIII•         way, and a inom into which the lint             f•. (•Wilfy") Driscoll, bl:uted off the
   min ionrd b)· thr nnV)' ronrludrd 1hn1       rlan nf eight muld b:ircly fit, bur ii wns      USS Oi1uttllation and headed 1oward
   rhe problem was missilt:5 that didn't        llu· hirthplnre of a :-n·olu1ion in fighter     Hanoi to noorr an Hllnck fon:e over the
   work :md nircrrws who didn'1 lnow            a\'iation . For the first lime fighlcr          Hai Dong railroad y:irtb. It would
   how to dogfight, and it n:rommencled         jorks-nol Prnragon expcrls or plnnc             turn ou1 to be the lwp to end a.II
   thc establishment of n ligh1er• pilot        manufar lurers-were sc1tin1,t perfor-           hops. Not just bcc.iusc they downed
   school. In n-ality. the whuk thin,:: was     rnann: stnndnrds for thrir Oying                thrce MiGs in on<." day. but because
   :i monumental Pentagon ~acw·up.              mor hines . Then: were long debates             1hose 1hree took them over rhe mngie
   The na,")•·s brand-new, high-tcrh F-4        inw the nighr . New air mant"uvcrs              fi\'t:•kill line to make them the fint
   Phantoms wrrc dcsignrd, and thcir            Wl"rl' invcnlt"d, fir~, \\'ith hands trncing    olficial aces of 1he Vic1nam War. As
   pilots traincd, 10 intrrn:pt hii;h-n)'ing    loop~ in the air, then on 1hc bln.rl:-          the navy flew Randy and Willy home
   S<1"it't homlx-rs-to scrnmhlc up, lo-        ho:inl, and linall)', rhe following mom•        to p.irade them acro.u the country, the
   ratr the tari{Ct on the radar, nnil it       ini;:, in the skies.                            story of 1hat liulc hangar at Miramar
   from behind with a missile, and rumc             11,cy started by Oring F-4 Phantoms         finally started gelling our, and when
   home. E.:isy . But ronfron1i11i; those       ai,::-iiiut F-8 Cru!.u.lers. the na\·y·s last   rite war drew 10 a close com~r-


                           THEAGONYANDTHEAGONY
                    The truth behindyankin9 and bankin9.
     I
          f YO • SIT IS TIIF.COCKl'ITOFAN t',5 i\Slll>ROPYOUR            rhe forrr of the rarth's gravitational pull-1he pressure
            hands to your sides, )"Dur lingers reach two metal bars     comes from cvrl')·where. t\'Cn your eyelids weigh 54:'' cral
            r~; n~ Hat along Ilic basc of 1he :1eat. The ban arc         timt'S wh:11 1111.")' normal!)' do, and the pressure on your
       paintnl in black and yellow stripes-a warning sisn. Pull         chest is so intrnsc- rhat you can hardly bn-:ithc. For rhe
       up and M1ure1.c 1hrn1 ancJ an t"xplosi\'\' ch:irgc will hla,t     next half hour or so. I learned latcr. we went through
       )OU out of the cockpit and into 1hr air, your 5('31 will drop    :1evcr:il cl~L~sic air 1110\'C'S, but all I n-memlxr ill a scrit"s of
      aw:t}', your par:ichute will open abo\'e, :md you will Ooot       l1:1sh imprc-ssions :ind a grner:il feeling of physira.l tor-
      safdy down to earth. That's how the ejection 11Cat is sup·        ture. ll1r things I thought would be the hardest to la.k c,
      J)OSe(.110 work if an)•thing goes wrong with rhe plane, but       such as firing upsicll.' down , were nnticlimactic. lnc.Jced,
      the rroubk is you can'r prarrir e with it, onl)• memorize         at one poinl I remember seeing gn."Cn fields whc-re the sk)'
      a sc:ric:s of steps. "How man)' timL-s have )'OU punched          oui:;ht to be, nnd it \\'ns sheer nir.•:ina-nfter sn·ernl
      out [ejectedj?" askcd Licu1cnant Al C-Shoes1 Mullen               minutes of pullins Gs and feeling the nir pockets in my
      when I 1old 1i111 I w.intcd to nm 1hrough ii all again be-        G-suil inllalc a1:ains1 my legs to fotTI: rhe blood b.ick to
      fore our llight.                                                  the hl·:1rt, it was a n-licf to rcsl head down nnd lt't lhc
         "Not once-," I said.                                           blO(KI «-lum to 111)' brain. And thrn, in nn instnnt, w-c
         "Thai', :is many 1imcs ;u J\·r done ir,• he said, •nm.I I      werc climbing at 6 ,5 Gs, and I n:nlized I wus sitting
      dun't plan IO stnrt no\\':                                        slumped in my l!t"nl like- 11 shriveled old man, a
          In a crazy sense, lherc was more: rca.u urance in that         I, IOO-pouncl olcl mnn, unnhlc 10 strai,:;htc-n my b.,rk.
      fighrcr jock's ~waggC"r 1han in all thc hour, or ,afct)' train•       Thrre were a lot of things I was un.,bll.' 10 do. I couldn't
      ing I hnd romplc1ed before going up in an J-'-5 (F· 14s art!      pick up my rnmern from a nearby uidf-on earth it weighJ
     cl:usifird- nu dviliam ollowrd) with Shoc-i as In)' pilot.         abou! one nnd a half pounds. I couldn't slow the plane by
          It was raining on rhe morning of our flight, but then         pn:s.smg my reel forwnrt.l as Shoes suddenly pointed the
     the gray cloud cover hmke, nn1I inking off ond llying              plane nose down and went inro a di,·e . l couldn't lcccp
     through 1hose Ouffy white dumps wa, a nrar-srxunl                  1rnck of Yogi and Po»um's f.>lnne, s.rrcaing hy like
     Llclight. It didn't la.st. All we new o,·cr nn Imperial Valle)'    0Mhcs of me1nllic light and nothmg more. I had never felt
     clale fonn nnd began dogliKlrlin!l with Yog-i 11nd Pos.m m         10 uxJcss in all my life. I h3d lost control of everything
     in 1hcir f-14, 111)" di1p:u1io1u11r ohscr.·er mode" wa,            1hat was hnppl.'ning from unc s«oml to the lll"xt, exactly
     Lrurnll)' ~hallcred , It bc-gan ns Yogi oml Pos~urn drir1c-d       the opposi1e or whnt figh1cr pilo1s feel-and must ft"t'.1-
     flWll)' , vaniaht'd, then tumt·d ,md headed hark in our            nll of 1he 1ime.
     dim-lion . Surldcnl)• ShorN whippc:d the 11iclc hard, fint 10          And when I climhrd oul of the rockpi1 nt the rnd of our
     1hc ldt ond llll'n to rhe righ1, nnd he fore I could cn1rh Ill)'   hourlong flight, I couldn't e\'en swngger. E\'ery mmdc in
     breath or lirace mr&clf he must hn,·e sccn 11ome1hi111!,           my body achc-d, I was t'xhau~tcd and slightly n.iusca1cd,
     l1<'fflUk' he pushed the thro11le 11nd selll u1 into II sharp      and nil I wanted 10 do was go 10 sleep. Bur 1hey tell me the
     climb, II was 111)' first introcluction to rht· C forces,          fim time i! the wont, and I can't wnit 10 gt:t up 1herc
         \Vhcn ) 'OU ,irc pulling Gs-wi1hs1nnding S.C\'cral 1imrs       again.                                                      -E.Y.

   IH   MAY    1983


Confidential                                                                                                        TGM0123726
       Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 14 of 15 Page ID
                                        #:1009
    SC'aS-Oncd jocks scramblc:-d IO gel 1here vets set out to rewrile C\'cry single



                                                                                                Have
    a! inslmcion.                                 fi~htcr avia1inn 'text ever wri1ten.
       Tu trul)' apprccinle whal was hnp-            Yt·I 1l1i! fighlcr pilo1•~ Valhalla
    pening :11 Top Gun in 1husc head)' nlm05t cnme to nn end in bte 1977,
    years of the early 1970s, one musl first when Rear Admiral Frederick C-Ficld


                                                                                               a1weat
    undcntand 1ha1 1herc arc few ca~lc Day Fred") Fellows assumed command
    sptcm5 as daborntc and demnnding as of Nnvnl Air Stalion Mir:unar and sci


                                                                                               vilcotim,
    lhl' one military pilo1s li,·e under. Jt5 our 10 rc-Jrorc discipline and naval
    clivicling lines ntc drawn like lhe circles decorum 10 the figh1cr community.
    around the lmlrs-e)'e of a gunnery Suddenly the old pcncetime reguln•
    larger. On the outside is 1he mas~ of lions were bdng enforced, and before


                                                                                               orllm
   h11mani1y 1hat doesn't count at all- long 1hc hotsho1s began to leave. Top
   nonflying noncntitic5. In 1he outer Gun's dark ages lasted un1il the spring
   rin!:, only sligl11ly mon- !iignilicnnl, arc of 1979, when Fellows wa.s replaced by
   the aviator's families, groupies, and Rear Admiral Pnul ("Garnr•) GillcriM.
   h:ingl"~•on . 11,cn come hdicuptcr Unlike his predecessor, Gillerist was a
   pilots, tr.msport pilots, bomber pilots, figh1er pil01'J pilot - he had flown the
   :ind :morled prop-driven plane pilots, F-8 Crusader in the erdy >•cars of 1he
   and next the nllnrk pilo15, who~ Vicmam War. A sigh of relief swept
   planes have m1 aflcrhurncn and who the fighter jock co111muni1y, bur by
   charge at ground 1argc1s only. In 1he 1hen             many of 1he o riginal hotshot~
   inner rings, where figh1er pilots be· hnd left rhnl hardly anybody with any
   long, there arc finer di~1inc1iom 1ha1 ,,·ar cllpcriencc wns ,wailable for a Top
   uni)' the pilots them.sch-cs c.1n discern, Gun ins1ruction post.
   until one tiny circle is lefl at the ccnler,     Br 1he time Yogi and Po.ssum walked
   lhc bull's-eye, when: 1he dire of the over from lhc south end of Hangar
   fighter d itc stand in glorious isolation. One, home of VF• I Wolfpack, to 1hc
  The grc:11cst of the grca1s, the makers north encl to i,cgin cheir Top Gun
  of legends-the •shit-hots:                     1raining last January, only the course
      At Top Gun, back in those postwar chief, Commander Ernie ("Ratchet"')
  days, m-rybody w.is hot. So hot tha1 1he Christen.sen, and one or two instruc·
  place siu.led e\'cn when nothing w.--s tors could speak with lhc authority of
  happening. So hot 1hnt a 101 of people actual combat experience. But it wa.s
  suggcs1«1 1h:11 even Rand)' Cunning· still shaping fighter aviation doctrines
  ham didn't lruly belong there. Not 1ha1 and tactics, and it was s1ill the grcatC3t
  he wasn't a great fighter pilot. H is fighlc:r-pilot school in Lhe world.              You con. on very ottroctr.e terms. at


                                               I
  thrcc-~iG day was awesome, and in
                                                                                         Coneel ond lJ!T1e Dix Boy frO'TI April 10
   1976 he nnd Willy Driscoll would ac-              T STARTED SLOWLY. GENTLY.
                                                                                          b Decefrber 19, on ou COtroO
  tually be inducted into 1he ba~•s Avia-            There were lectures and briefings,  VoCOtion Pion. Enpy a biol of 8 day!.
  tion Hall of Fame. But, though the                 bu1 soon Yogi and Possum were up     7 Nghts. split Of¥w<:7'('!QJv.Qrd
  )-Oung aviators at Miramar might be in the air, and there was more flying               between the t.o resorts. w11tt a mini•
 ronient to gape al Cunningham's lwo than the)' hacJ ever had. There were                cruise Ot shotl !lgtt between them.
 ~ilver stars and Navy Cm!s, to the one•\'enus-one hops (one student crew
 Top Gun hotshots his new MICi ACE n~rainst one iru1ruc1or), then two-                   Caneel. on the us. Vltgln b.'ond ot
 license plate was, well, unprofessional. vcrsus•two hops, and then c:imc the            SI. John wi!tl the NotiOnot Par1< behind
 ·Reali>· great fighter pilots arc like the rough rwo-,·ersus•unknown hop, in            you ume Dix on o go,geo.JS. ieet-
 grcal g11nfigh1er~ in 1hc Old West,- which two student crews take olT no1               protected bO-,' on Vlron Gordo in the
 s.1ys Jim (•Hawkeye·) Laing, one of knowing how many bogeys arc waiting                 British Virgins.          rooms. a ll meOIS.
 the original Top Gun hotshots . .,They 11u1 there or where thcy11 come from             and   a  range   of speclol   octivifies
 didn't ha\·e to lell anybodr how greal or in what order. That's how Yogi                ovolloble at eoch 1'8$011. (Our rofe Sl'leel
 1hc>' were - all 1hey hnd 10 do was jusl and Possum happened 10 be flying off           giws a ll the delols.)
stand there, and the aura was such that the coast of Erucnnda on that bright             The cosr? .).Jsl saoo pe, person dc:uble
c,·el"}•bod>· knew. It's the same hen:. January morning, Just floating                   -Mav 15 to Oct. 31 [Sping cn:ffo!I
 El'r1)'/Jod.)' hows.~                          1hrough the blue looking for game:,      rotes s.!!Qhlly higher). It's o temftc YO!ue.
      Not that anybody •,nl!I jusl standing when 1hat F-5 rolled in and sent them        Exira nfohls CMllloble. A!Jt.. 100, about
around at Top Gun , Therc were the home wi1h a simulated Atoll shot.                     o u r ~ soJ:ng and rennis
drinking seniom at Bully's, a ~teak Before long the hops were running into               plans. Co.1 k>ll·froo 800-223-7637. In
house: in San Diego, nnd the late-night each 01hcr, and Yogi nnd Possum                  New YOO< Slcne 800-442-8198.
car races in Imperial Vnllcy, running noticed lhal something w;u hnppcning               Now Vo-I< City 212-586-4459.
thro ugh sleepy l11tle 1owns ul JOO miles to them. They were fi)•ing twice a
an hour with no headlights. •Jr's all day- nor cross-country cruising but                                       Gi)
right, officer, we're from California,• a edge•of•thc•scat, hard flying, intense,
lankct.l•up marine hotd1ot once wld n mind-bending flying- and they didn't
                                                                                                        caNE6L Qa-Y

                                                                                                                                     t
                                                                                                      ST. JOHN. U S VIIIOIN ISi.ANOS
cop who had slopped him. "This i, even have to speak e.11ccp1 to clmw at•
C nlifomia." the cop answered, and tcnlion 10 a bogey. They were being
wrolc him up. But mosl of nll 1hen: wns hn mmercd into n team.
Hying. Glorious flying. The: grc:atesl            And so ii was thtll on a sunny day
fighter flying in the world was taking last FcLruary Yogi nnd Pou um Slrollcd             LITTLE DIX BAY
place C.'VCI)' day over Yuma, Ari1,0na , nu1 of Hangar One in their fligh1 suits,         VIFIQIN C:01104 • BRITISH VIIICIPI l~lANOS
or 1hc Chocolale Mounlains or the wi1h their helmets and oxygen mnsks                            Or;erai'ed by RocJ<resorts, Inc.
Pacific Ocean as Top Gun's Vietnam dangling from 1hcir arms and their

                                                                                                  C .\ I I I o k , I \ M , I, \ 11 , I   IU

  Confidential                                                                                                           TGM0123727
         Case 2:22-cv-03846-PA-GJS Document 53-1 Filed 11/06/23 Page 15 of 15 Page ID
                                          #:1010
chutes slung rnacho-c=:il O\' Cr their nolhing to worry :tbout, and 1hry c:ime the nt"ws cnmc th.:11 the Wolfp3cJc " a.,
shouldcn . Their plane w;:u read>· and 1J\·cr the tar~et aren nnd tum('d around m11ncJ top fighter squadron on the
waiting, and a s the)' diml>N.l in10 the and lu·acJcd l,ark, and still nothini;; . \\1c-s1 Co.:u1-onc of only two con•
c-ockpil nobody came ninnini; up to The)' would h:i,·c pn:fermJ n lit1le lenders for the Admiral Clifton
511)' that the hop would be (lclayc·d .          more aclion, when you came right Award, the navy's grc-atc~t tribute to :1
That was II good sign right 1hcrc. And tlown to i1, but whnl re;illy mallerc-d fishier squadron , T1vo wrclc.1 l.lter the
then 1he little hufTcr mrt blew air into w:11 that 1hey had IK'cn rr.-.dy for it a ll men o f thc Wolfpa_ck l_,q;a n ftying c_:iut
the rngin~ to gel them goin~. nm.I in along-they could hnvc fought their 10 land o n the pttchan~ and tollini:
seconds thdr mathine was humminf.: way out of:iny1hing . They had m :ule it fiis ht dct:k of the US. K,tt; I/au!,
like 3 rocket. The)' t:i..-<icd out to thr into lx1ge)' cuuntry :incl hadn't 5Cr.: v.·t·d OIIIC' 100 rniln uut to u-a off S:in
 runway, lined up, and bla led off, .md up once ,                                         Oirgo, in prrp:irration for tlacir nc-JCI
s\ill evcrythin!- was oknr. They banked            Yogi and Pmmm fini~hcd the Top c rui1e. TI'tis 1i111e \'ogi a nd Po,rnrn
 nght and kvl'lcd olf at '2,000 feet. then Gun couru: at the encl or Fchrunry. As "oul<l lead 1ho,c.- lonJt fi1thlt'r p,1rrol1
 climbed higher :i.nd he:idro for the their das5 picture "ent up in the m·cr the Indian Occ.-an, and out 1hcrc
 rugged Mojn\'C Dc~n coun1ry around briefing room rtllll they rcrci,·etl their o\·cr their wing would Ix: ;i you n g pilo1
 China Lake for the most imponant new Top Glm Oii;: ht jnd.et pa.tche (a jiut oul of tr:iinini:;, east"r 10 lca m ho,_,
 Top Gun hop. the culrnin:ltion of their MiG cnught in n fighter's cros, h:iin), to be a real fighter pilot.                  -
 training. It w~u a great beginning for a . -- - - - - - - - - -- - -- - - - - - - - - -- - - - - - -
 srcat hop.
     Onc-c m-cr China L:u.:e ther le.:i.mcd
 up with a few A-7 attack planes. "hich
 they ~ n e d OYC'r •ent'my9 land on :i
 bombing mis.sion , TI,r A-7s <lid the
  bombing, .iml Yoi:i and Possum and
  the rest of the F- I 4i \\Cnt along on :i
  MiG sw«p, looking for boi;ers :md
  fighting their way to and fro m the         1


  tars-ct area, laking care: not only or
  their own tails but of those no~down
  A-7s below. Since d1is Wil5 •encmf
  territory, and the Rus~ians were big on
  radar control, they flew in low, hug·
   J;ing the terrain at 500 fret.
       Yogi and Pos! um were z.ippin~
   along, $hooting up mountains and
   down anyom and fi)' ing ro low 1hat i1
   was hard to k«p frum staring at the
   ~round, but they had to keep looking
   for bogey, . Only a f(.'w days earlier
   they had be-en out there over China
   Lake, just coming out of a mission,
   when they turn<'d back :ind saw two
   bogeys riding their 1.1il. Yogi wa!c.hed
   the one on the left and Possum tnc<l to
   keep the one on the right in sight, but
   then Yogi found oul that his bogey had
   ju1t fired a missile. 111crc arc a couple
   of things a pilot can do ,_,ith a he.JI•
   M:c king missile heading his wa)'. and
   one of those is to break hard - pull
   away fast - to foul up 1l1r rr~issile:s
   tracking srstcm . Possum wai losing hi,
   l,ogey and was just turning his hcad tu
   look o,·rr his right ~houltkr ,,hen sud·
   d cnlr YoJ;i pullcd the stick and hcadc:{I
    up in a 7 .5-G climl,, As Possum fouJ:ht
   10 keep his fate froni i rnaihing into thl·
    radaO<"Opc he heard his neck begin tn
    pop, thc vertcbrne cracking th<" w.iy
    knuckles do whc-n pullcd-•puk, puk ,
    puk." Tha(s " 'hen YoF:i a:iid real cool
    inio the mike, •Hey, you still ~ot tho:.c
    gu, ·s back there?" Ponum couldn't
    e..-~11 look up to :isk him if he was kid•
    dini.: or what.                .
        So now they were 3]1c)ot1ng up aml
    clown those brown and ydlow des.en
    hills, and thry still h ad to kec-p an C)' C
    rx:ekd on 1hat huge blue dome nl>ovc
    them . Bui nothing happcnc:d. Thc-y
    1aw a few l,ogt}'S in the di srnnce, hut



  Confidential                                                                                                    TGM0123728
